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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


NOALA FRITZ et al.,

               Plaintiffs,

   v.
                                                            Civil Action No.: 15-456 (RDM)
ISLAMIC REPUBLIC OF IRAN et al.,

               Defendants.



     PLAINTIFFS’ MEMORANDUM IN SUPPORT FOR DAMAGE AWARDS FOR
       HOSTAGE TAKINGS, TORTURE, AND EXTRAJUDICIAL KILLINGS

        Plaintiffs submit this memorandum and accompanying exhibits and attachments to Special

Master [__________] in support of their requests for awards of damages arising from their

injuries caused by Defendants as alleged and proven in this civil action. While this master

memorandum describes issues of law that are present for all four families, Plaintiffs have also

submitted four appendices with individualized damages evidence for each of the four families,

with a set of exhibits attached to each.

        Plaintiffs have submitted evidence and demonstrated to the Court that in accordance with

28 U.S.C. § 1608(e) they are entitled to recover damages pursuant to the Foreign Sovereign

Immunities Act (“FSIA”), 28 U.S.C. § 1605A(c), and in the case of the single non-U.S. national

the law of the District of Columbia. Plaintiffs’ requests for awards of damages are squarely

within the heartland and median range of prior awards of damages by judges in other FSIA

terrorism-exception cases in this district as reflected in the chart below:




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                                    Proposed Compensatory Damages
                               Per Family Member Including Direct Victim

              Case                   Number of           Total Compensatory               Compensatory
                                     Plaintiffs1              Damages2                  Damages Per Family
                                                                                            Member
  Gates v. Syrian Arab                     6                  $122,359,587                 $20,393,265
Republic, 580 F. Supp. 2d
  53, 75 (D.D.C. 2008)

    Pugh v. Socialist                     50                  $549,779,000                   $10,995,580
  People’s Libyan Arab
Jamahiriya, 530 F. Supp.
2d 216, 265-273 (D.D.C.
         2008)

Wultz v. Islamic Republic                  4                   $32,086,634                    $8,021,659
of Iran, 864 F. Supp. 2d
 24, 43 (D.D.C. 2012)

  Foley v. Syrian Arab                    11                   $86,396,811                    $7,854,255
Republic, 281 F. Supp. 3d
   153 (D.D.C. 2017)

   Kilburn v. Islamic                      2                   $11,030,000                    $5,515,000
Republic of Iran, 699 F.
 Supp. 2d 136, 157-158
      (D.D.C. 2010)
Fritz v. Islamic Republic                 26                  $131,234,663                    $5,047,487
 of Iran (D.D.C. 2018)                                         (proposed)                     (proposed)

Thuneibat v. Syrian Arab                  10                   $47,622,009                    $4,762,201
Republic, 167 F. Supp. 3d
  22, 55 (D.D.C. 2016)


           The Plaintiffs respectfully request that the Special Master find and recommend to the

Court that the Court award and enter a final judgment on damages as described in further detail

below.




1
    This value includes compensatory damages to both the estates of direct victims and immediate family members.
2
    These values reflect awards prior to any adjustment for pre-judgment interest.


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I.       Procedural Posture

         On November 5, 2015, Plaintiffs filed the Amended Complaint in this civil action. (Dkt.

9). The Clerk of Court entered defaults against the Islamic Republic of Iran (“Iran”) on August

14, 2017 (Dkt. 23), and Iran’s Islamic Revolutionary Guards Corps (“IRGC”) on March 27, 2018

(Dkt. 39), after the Defendants failed to answer or otherwise respond to the Amended Complaint.

From April 10, 2018 through April 13, 2018, the Court presided over an evidentiary hearing on

the issue of liability. The evidentiary proceedings included testimony from thirteen witnesses

(including fact and expert witnesses) and eighty-eight exhibits.

         This case arises from the kidnappings, torture, and murders of U.S. service-members

Jacob Fritz, Johnathan Bryan Chism (hereinafter “Bryan Chism” or “Bryan”), and Shawn Falter

near Karbala, Iraq on January 20, 2007 and the kidnapping of U.S. service-member Ahmed Al-

Taie in Baghdad, Iraq on October 23, 2006 and his subsequent torture and murder. The group

responsible for these hostage-takings, torture, and murders was the Iranian-supported militia

Asai’b Ahl al-Haq (“AAH”) (also known as “the Khazali Network”) along with Iranian proxy

Hezbollah both of which received critical material support and direction from Defendants, Iran

and the IRGC. Plaintiffs filed this civil action pursuant to 28 U.S.C. § 1605A seeking to hold

Iran and the IRGC civilly liable for Plaintiffs’ injuries under Section 1605A.

         Plaintiffs in this action include the estates of Jacob Fritz, Bryan Chism, Shawn Falter, and

Ahmed Al-Taie. All four direct victims were U.S. citizens and members of the United States

military at the times of their kidnappings, torture, and murders.3 The twenty-two remaining




3
  Trial Transcript of Julie Chism, at 125, 128-131 (April 12, 2018); Trial Transcript of Hathal Taie, at 49, 51-52
(April 13, 2018); Trial Transcript of Linda Falter, at 62, 68-71 (April 13, 2018); Trial Transcript of Noala Fritz, at
84-86, 92. Citations to the trial transcript are hereinafter identified as “[last name of witness] T-[day N of hearing]-
[page range] ([under seal as relevant]). Citations to the deposition transcripts are hereinafter identified as [Last
Name] [(disambiguating first name if necessary)] Depo. T-[page range].


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Plaintiffs are the immediate family members of the four service members, their parents, sisters,

and brothers:

            Jacob’s mother, Noala Fritz; the estate of his father Lyle Fritz (who died following
             the events leading to this civil action); and his brothers, Daniel Fritz and Ethan Fritz;4

            Bryan’s mother, Elizabeth Chism; his father, Danny Chism; his stepmother, Vanessa
             Chism, and his sister, Julie Chism;5 and

            Shawn’s father, Russell J. Falter; his mother Linda Falter; his sister, Marjorie Falter;
             his brothers Russell C. Falter, John Sackett and Jason Sackett; his stepsister, Marsha
             Novak; and his stepbrothers, David Lucas, Tim Lucas, and Andrew Lucas;6

            Ahmed’s father, Kousay Al-Taie; his mother Nawal Al-Taie; and his brothers Hathal
             Taie and Bashar Al-Taie.7

        All of the family member plaintiffs are also U.S. citizens with the exception of Ahmed

Al-Taie’s brother, Bashar Al-Taie who is a citizen of Canada.8

II.     Plaintiffs Are Entitled to Damages Pursuant to 28 U.S.C. § 1605A(c)

        28 U.S.C. § 1605A(c) is a federal cause of action against a state-sponsor of terrorism if

the claimant or the victim was, at the time of the terrorist act, a national of the United States, as

were all of the four victims here.         Section 1605A(c) provides that “damages may include

economic damages, solatium, pain and suffering, and punitive damages,” as suffered by the

Plaintiff victims and their families. Plaintiffs demonstrated at trial that AAH led by Qais al-

Khazali and Laith al-Khazali received material support in the form of funding, training, weapons,

intelligence, safe harbor, and direction from Iran’s IRGC and its proxy Hezbollah that

proximately caused the hostage takings, torture, and extrajudicial killings of the four direct

victims in this case. Thus, under 28 U.S.C. § 1605A(c), each of the Plaintiffs except for Bashar

4
  Fritz T-4-84-86, 92; Tr. Ex. 43.
5
  Chism T-3-124-128; Chism (Vanessa) Depo. T-6; Chism (Danny) Depo. T-8; Chism (Elizabeth) Dep. T-6; Tr. Ex.
44.
6
  Falter T-4-63, 70; Tr. Ex. 45; Ex. 68.
7
  Taie T-4-47-48, 54; Ex. 46.
8
  Chism T-3-124-128; Chism (Vanessa) Depo. 6; Chism (Danny) Depo. 8; Chism (Elizabeth) Depo. 6; Taie T-4-47-
48, 54; Falter T-4-63, 70; Fritz T-4-84-85.


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Al-Taie9 are each entitled to a federal damages award against Iran and IRGC because (1) they are

the representatives of the estates of the decedents, Jacob Fritz, Bryan Chism, Shawn Falter, and

Ahmed Al-Taie or (2) they are immediate family members of Jacob Fritz, Bryan Chism, Shawn

Falter, and Ahmed Al-Taie, being either the parents or the siblings of the decedents. In addition,

each of the Plaintiffs except for Bashar Al-Taie is entitled to an award of punitive damages

against Iran and IRGC, under 28 U.S.C. § 1605A(c), for acts of torture, hostage-taking, and

extrajudicial killing arising from the kidnappings, tortures, and murders of Jacob Fritz, Bryan

Chism, Shawn Falter, and Ahmed Al-Taie.

         To recover damages under the FSIA, Plaintiffs must prove that their injuries were

“reasonably certain” to occur, in other words, more likely to occur than not, as a result of the

foreign state’s conduct. Thuneibat v. Syrian Arab Republic, 167 F. Supp. 3d 22, 47-48 (D.D.C.

2016). Plaintiffs must show “the amount of damages by a reasonable estimate consistent with

this [Circuit]’s application of the American rule on damages.” Thuneibat, 167 F. Supp. 3d at 48

(citing Roth v. Islamic Republic of Iran, 78 F. Supp. 3d 379, 402 (D.D.C. 2015) (quoting Salazar

v. Islamic Republic of Iran, 370 F. Supp. 2d 105, 115–16 (D.D.C. 2005)) (internal quotations

omitted and alteration in the original)). “In determining the reasonable estimate, courts may look

to expert testimony and prior awards for comparable injury.” Braun v. Islamic Republic of Iran,

228 F. Supp. 3d 64, 82 (D.D.C. 2017) (internal citations omitted). “A plaintiff may establish the

necessary proof for damages through affidavits or live testimony.” Kim v. Democratic People’s

Republic of Korea, 87 F. Supp. 3d 286, 289 n.1 (D.D.C. 2015).




9
  As a non-U.S. national, Bashar Al-Taie is ineligible to recover under the federal law cause of action, thus as
discussed later, he has only a state law cause of action. See Owens v. Republic of Sudan, 864 F.3d 751, 769 (D.C.
Cir. 2017) (“We hold also that those plaintiffs ineligible to proceed under the federal cause of action may continue
to press their claims under state law.”).


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        Accordingly, Plaintiffs have attached hereto four appendices (Appendices A through D,

one per family) containing transcripts of live testimony and accompanying exhibits supporting

damages awards for economic loss and pain and suffering for the estates of each of the direct

victims—Jacob Fritz, Bryan Chism, Shawn Falter, and Ahmed Al-Taie—and solatium damages

for each of their immediate family members.

III.    Estates of Direct Victims are Entitled to Economic Damages

        Economic damages may be awarded to Plaintiffs pursuant to 28 U.S.C. § 1605A(c).

Economic damages are available to compensate the estate of the decedent for the victim’s lost

earning capacity. Valore v. Islamic Republic of Iran, 700 F. Supp. 2d 52, 83 (D.D.C. 2010)

(explaining that estates of those who did not survive the attack can recover economic losses

stemming from wrongful death of the decedent).

        As to economic damages of the Estates of Jacob Fritz, Bryan Chism, Shawn Falter and

Ahmed Al-Taie, resulting from the tortious conduct of Iran and the IRGC, Plaintiffs have

provided evidence of each estate’s economic losses by submitting the expert reports of Dr.

James Markham, a senior economist at the Center for Forensic Economic Studies (“CFES”)

and Chad Staller, President and senior economist at the CFES.10 See Expert Report of CFES for

the Estate of Jacob Fritz attached hereto as Appendix A10 and incorporated herein by reference,

Expert Report of CFES for the Estate of Bryan Chism attached hereto as Appendix B9 and

incorporated herein by reference, Expert Report of CFES for the Estate of Shawn Falter attached

hereto as Appendix C17 and incorporated herein by reference, and Expert Report of CFES for the

Estate of Ahmed Al-Taie attached hereto as Appendix D10 and incorporated herein by reference.


10
   Federal Rule of Evidence Rule 702 allows the testimony of “a witness who is qualified as an expert by
knowledge, skill, experience, training, or education” and the appendix to each of the damages reports properly lays
out such a foundation to allow expert testimony by Markham and Staller.



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       Plaintiffs’ evidence in support of their claims for economic damages are set forth in

Appendix A for the Estate of Jacob Fritz and incorporated herein by reference, Appendix B for

the Estate of Bryan Chism and incorporated herein by reference, Appendix C for the Estate of

Shawn Falter and incorporated herein by reference, and Appendix D for the Estate of Ahmed Al-

Taie and incorporated herein by reference.

IV.    Estates of Direct Victims are Entitled to Damages for Pain and Suffering

       The Estates of Jacob Fritz, Bryan Chism, Shawn Falter, and Ahmed Al-Taie are entitled

to pain and suffering damages as a result of Defendants’ actions. Upon evidence of conscious

pain and suffering, determination of the compensation has largely been trusted to the discretion

of the trier of fact based upon factors including the duration and nature of the suffering endured.

Flatow v. Islamic Republic of Iran, 999 F. Supp. 1, 28 (D.D.C. 1998). The trier of fact has broad

discretion in calculating damages for pain and suffering:

       “If Plaintiff presents sufficient evidence of conscious pain and suffering,
       determination of the compensation has largely been relegated to the discretion of
       the trier of fact by courts in this jurisdiction based upon factors including the
       duration and nature of the suffering endured. The United States Court of Appeals
       for the District of Columbia Circuit has firmly established that the trier of fact has
       broad discretion in calculating damages for pain and suffering.”

Flatow, 999 F. Supp. at 28 (citing Taylor v. Washington Terminal Co., 409 F.2d 145 (D.C. Cir.

1969), cert. denied, 396 U.S. 835 (1969)). Courts in the D.C. Circuit have noted “[a]n award is

even more warranted in an action for a violent and cruel death by terrorism.” Stern v. Islamic

Republic of Iran, 271 F. Supp. 2d 286, 300 (D.D.C. 2003).

       A.      Award of Pain and Suffering Damages to Estates of Three Victims Abducted,
               Tortured and Murdered in Karbala, Iraq in January 2007

       Federal courts in D.C. have “adopted a general procedure for the calculation of damages

that begins with the baseline assumption that persons suffering substantial injuries in terrorist

attacks who survive the attack are entitled to $5 million in compensatory damages.” Wultz v.


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Islamic Republic of Iran, 864 F. Supp. 2d 24, 37-38 (D.D.C. 2012); accord Cohen v. Islamic

Republic of Iran, 268 F. Supp. 3d 19, 24 (D.D.C. 2017). In cases where a victim only survives a

terrorist attack for a very short period courts have often made a base award $1 million to reflect

the “damages for the victim’s pain and suffering that occurred between the attack and the

victim’s death.” Haim v. Islamic Republic of Iran, 425 F. Supp. 2d 56, 71 (D.D.C. 2006); accord

Eisenfeld v. Islamic Republic of Iran, 172 F. Supp. 2d 1, 8 (D.D.C. 2000) (awarding $1 million

for pain and suffering endured in the several minutes between the suicide bombing of a

passenger bus and the victim's death); Elahi v. Islamic Republic of Iran, 124 F. Supp. 2d 97, 112-

13 (D.D.C. 2000) (awarding $1 million for pain and suffering endured while victim of

assassination fought with his attacker, a period of less than four minutes). However, that

approach has not been uniform and courts have taken into account the unique circumstances of

each case. See, e.g., Pugh v. Socialist People’s Libyan Arab Jamahiriya, 530 F. Supp. 2d 216,

221, 265-266 (D.D.C. 2008) (awarding $18,000,000 in pain and suffering damages to victims

who survived just a few minutes after a plane bombing); Stethem v. Islamic Republic of Iran, 201

F. Supp. 2d 78, 89 (D.D.C. 2002) (awarding $1.5 million in pain and suffering damages to victim

who survived just a few hours).

       Moreover, virtually all of the cases in which an award was made of just $1 million

involved a discrete attack after which the victim quickly succumbs to their injuries and there

were no other aggravating circumstances such as torture. In contrast, the abduction, torture, and

murders of Jacob Fritz, Bryan Chism, and Shawn Falter do not fit this description or model. In

analogous cases also involving aggravated circumstances, courts have deviated upward from the

$1,000,000 baseline for relatively shorter periods of pain of suffering.




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       For example, in Stethem v. Islamic Republic of Iran, terrorists hijacked an airplane and

executed one U.S. citizen after repeatedly beating him. 201 F. Supp. 2d at 80. The court

awarded $500,000 to the estate of the executed victim “for the pain and suffering he endured

prior to being singled out for execution” and an additional $1 million for “the several minutes of

anguish and pain [the victim] endured as and immediately after being shot by [a terrorist] and

thrown from the airplane” for a total of $1.5 million in pain and suffering damages. Id. at 89.

The logic of Stethem suggests any pain and suffering award to the three Karbala victims must

account for the specific facts surrounding their torture and execution. These facts include that

the three men were bound in the back of vehicles, beaten severely (some of them while suffering

from gunshots), and driven to another location prior to their execution all the while living in

terror of further and greater torture and fear of their imminent execution.

       In Foley v. Syrian Arab Republic, the Court awarded $30 million in pain and suffering

damages to the estate of Private First Class Kristian Menchaca who was missing for only three

days but where the evidence showed that during his captivity he had been “subjected to various

blunt force injuries, strangulation, and the removal of his eyes and tongue before his death.” 281

F. Supp. 3d 153 (D.D.C. 2017); see also Foley v. Syrian Arab Republic, 249 F. Supp. 3d 186,

198-199 (D.D.C. 2017) (liability opinion). Although Mr. Menchaca’s torture was particularly

brutal and the damages award reflects that, it also supports the inference that even during a

relatively brief period of captivity such as that suffered by the three Karbala victims,

extraordinary torture and fear of imminent death can justify a higher award. Similarly, in Gates

v. Syrian Arab Republic, the Court awarded $50,000,000, each, in pain and suffering damages to

the estates of two U.S. contractors who were held captive for just a few days before being

decapitated during which “each man suffered unimaginable mental and physical agony.” 580 F.




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Supp. 2d 53, 72-73 (D.D.C. 2008).                Finally, in Pugh v. Socialist People’s Libyan Arab

Jamahiriya, the Court awarded the estate of each passenger that died in an aircraft bombing over

the desert of Niger $18 million in pain and suffering damages “based on the fact that any

passengers who likely survived the mid-air explosion experienced horrific terror and

excruciating pain for as long as three minutes as they were burned alive and tumbled to the

earth.” 530 F. Supp. 2d at 221, 265-266.

        Accordingly, Plaintiffs submit that an award of at least $5 million is appropriate in these

circumstances—which corresponds to the baseline as pain and suffering awards made to

plaintiffs who were tortured during a relatively brief period of captivity. See Wultz, 864 F. Supp.

2d at 37-38. As outlined in Appendices A-C, the three Karbala victims were abducted in a

highly sophisticated raid planned and directed by Iran and the IRGC, during which the forensic

evidence demonstrates they were brutally tortured and suffered extreme pain before being

executed. During this entire period, they were in reasonable fear of their impending deaths. It is

well-established that such impending fear of death is compensable in awarding pain and

suffering damages even outside the FSIA context.11 In light of these aggravating circumstances,

Plaintiffs request $5 million in pain and suffering damages for each of the estates of Jacob Fritz,

Bryan Chism, and Shawn Falter. Below is a chart summarizing how Plaintiffs’ request compares

to other recent awards.




11
   See Haley v. Pan American World Airways, Inc., 746 F.2d 311, 318 (5th Cir. La. 1984) (finding that damages are
allowed for decedent’s fear of impending death); Shu-Tao Lin v. McDonnell Douglas Corp. and American Airlines,
Inc., 742 F.2d 45 at 53 (2d Cir. 1984) (New York law permits recovery for a decedent's pre-impact fear as there is
“no intrinsic or logical barrier to recovery for the fear experienced during a period in which the decedent is
uninjured but aware of impending death.”); United States v. Furumizo, 381 F.2d 965 (9th Cir. 1967) (affirming
district court's award for the ‘decedent's pain and suffering during the descent of the Piper plane, its crash to the
ground, and the burning of decedent to death . . . .”).


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                  Pain and Suffering Awards in Other Similar Cases
               Where Victim Died During or Shortly After Terrorist Attack
Case                                        Pain and Suffering

Gates v. Syrian Arab Republic, 580 F. Supp.        $50,000,000
2d 53, 72-73 (D.D.C. 2008) (victims
decapitated several days in captivity)
Foley v. Syrian Arab Republic, 281 F. Supp. 3d     $30,000,000
153 (D.D.C. 2017) (victim murdered three
days after abduction)
Pugh v. Socialist People’s Libyan Arab             $18,000,000
Jamahiriya, 530 F. Supp. 2d 216, 221, 265-266
(D.D.C. 2008) (victims killed in bombing of
airliner)
Wultz v. Islamic Republic of Iran, 864 F. Supp.    $8,000,000
2d 24, 38(D.D.C. 2012) (awarding $8,000,000
to victim injured during terrorist bombing that
died four weeks later)
Peterson v. Islamic Republic of Iran, 515 F.       $7.5 million in pain and suffering to service-
Supp. 2d 25, 53 (D.D.C. 2007) (awarding $7         member who survived 8 days
million and $7.5 million pain and suffering
damages to U.S. service-members who                $7 million in pain and suffering to service-
survived barracks bombings for approximately       member who survived 7 days
a week)
Proposed Pain and Suffering Damages for            $5,000,000
Fritz v. Islamic Republic of Iran - Jacob
Fritz, Bryan Chism, and Shawn Falter
Stethem v. Islamic Republic of Iran, 201 F.        $1,500,000
Supp. 2d 78, 89 (D.D.C. 2002) (victim died
after being beaten, shot, and thrown from plane
during hi-jacking)

       B.     Award of Pain and Suffering Damages to Estate of Ahmed Al-Taie

       As outlined in Appendix D, Ahmed Al-Taie was kidnapped on October 23, 2006 and his

remains were not returned to his family until February 2012—a period of approximately five

years and four months. The evidence at trial established that Ahmed was murdered by AAH in

approximately late 2009. Ex. 76 at ¶¶ 23-24; McDonnell T-4-15-16 (sealed); accord Mallak T-

4-37-38 (concluding based on forensic evidence that Ahmed Al-Taie was killed between




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February 22, 2009 and February 22, 2011). During his time in captivity prior to his murder,

Ahmed was repeatedly and brutally beaten. Ex. 76 at ¶¶ 10, 13; McDonnell T-4-12-13 (sealed).

       In similar cases of state-sponsored terrorism involving “prolonged and abusive captivity,

plaintiffs are awarded approximately $10,000 per day for the pain and suffering they experienced

while captive.” Price v. Socialist People’s Libyan Arab Jamahiriya, 384 F. Supp. 2d 120, 134

(D.D.C. 2005) ($1.05 million for 105 days of captivity); Massie v. Government of Democratic

People’s Republic of Korea, 592 F. Supp. 2d 57, 77 (D.D.C. 2008) (awarding $10,000 per day

for 335 days of imprisonment by government of North Korea); Kilburn v. Islamic Republic of

Iran, 699 F. Supp. 2d 136, 156-157 (D.D.C. 2010) ($5.03 million for 503 days as hostage);

Sutherland v. Islamic Republic of Iran, 151 F. Supp. 2d 27, 51 (D.D.C. 2001) ($23.54 million for

2,354 days of captivity); Anderson v. Islamic Republic of Iran, 90 F. Supp. 2d 107, 113 (D.D.C.

2000) ($24.54 million for 2,454 days of captivity).

       Congress similarly adopted this standard in the Justice for U.S. Victims of State

Sponsored Terrorism Act. 34 U.S.C. § 20144 (awarding “$10,000 per day for each day that a

United States person was taken and held hostage from the United States embassy in Tehran, Iran,

during the period beginning November 4, 1979, and ending January 20, 1981”). Based on the

evidence presented at trial and summarized in more detail in Section II of Appendix D, Ahmed

Al-Taie died during the second half of 2009. Utilizing a conservative estimate for Ahmed’s

murder of October 1, 2009 (the mid-point of the second half of 2009), Ahmed spent 1,074 days

in captivity. Accordingly, Plaintiffs submit that based on these facts an award of pain and

suffering damages of $10.74 million is appropriate as to the estates of Ahmed Al-Taie.




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V.     Plaintiffs Have Suffered Severe Emotional Distress and are Entitled to Solatium
       Damages

       A.      Overview and General Framework

       Damages for solatium are to compensate for “the mental anguish, bereavement and grief

that those with a close personal relationship to a decedent experience as the result of the

decedent’s death, as well as the harm caused by the loss of the decedent, society and comfort.”

Valore, 700 F. Supp. 2d at 85 (citing Belkin v. Islamic Republic of Iran, 667 F. Supp. 2d 8, 22

(D.D.C. 2009)). In determining the appropriate amount to compensate for victims’ family

members’ emotional distress, “the Court may look to prior decisions awarding damages . . . for

solatium.” Acosta v. Islamic Republic of Iran, 574 F. Supp. 2d 15, 29 (D.D.C. 2008). “Courts

may presume that spouses and those in direct lineal relationships with victims of terrorism suffer

compensable mental anguish.” Spencer v. Islamic Republic of Iran, 71 F.Supp.3d 23, 27 (D.D.C.

2014) (citing Flatow v. Islamic Republic of Iran, 999 F. Supp. 1, 30 (D.D.C.1998)). The mental

trauma that occurs upon hearing the terrible news of an immediate family member’s passing does

not stop a few months or even a year after. “It is entirely possible to come to terms with the fact

of death, and yet be unable to resolve the sense of anguish regarding the circumstances of death.

This is particularly true where the death was sudden and violent. How the claimant learned of

decedent’s death, and whether there was an opportunity to say good-bye or view the body can be

a significant factor contributing to the claimant's anguish. . . .” Fraenkel v. Islamic Republic of

Iran, -- F.3d at __, 2018 WL 2749233, at *6 (quoting Flatow, 999 F. Supp. at 30).

       Solatium damages, by their nature, are “unquantifiable,” Moradi v. Islamic Republic of

Iran, 77 F. Supp. 3d 57, 72 (D.D.C. 2015), and do not readily lend themselves to quantification

“through ‘models and variables.’” Fraenkel, -- F.3d at __, 2018 WL 2749233, at *7 (quoting

Flatow v. Islamic Republic of Iran, 999 F. Supp. 1, 32 (D.D.C. 1998)). Accordingly, federal



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courts in D.C. have developed a commonly accepted standardized framework, a touchstone from

which solatium damages under the FSIA can be assessed known as the Heiser damages

framework. Estate of Heiser v. Islamic Republic of Iran, 466 F. Supp. 2d 229, 269 (D.D.C.

2006); see Roth, 78 F. Supp. 3d at 403 (noting the “framework has been adopted by other courts

as an appropriate measure of solatium damages for the family members of victims of state-

sponsored terror” (citing Valore, 700 F. Supp. 2d at 85)).

       The Heiser framework provides guidance with respect to all of the familial relationships

present in this case. The parents of deceased victims should each receive a baseline award of $5

million in damages, and siblings should each receive a baseline award of $2.5 million in

damages. Heiser, 466 F. Supp. 2d at 269. The law makes no distinction between full-blood and

half-blood siblings.   In affirming the Special Master’s recommendation of the full Heiser

baseline solatium amount to a half-brother, another court in this district held that half-siblings are

“presumed to recover as a full-blood sibling would.” Murphy v. Islamic Republic of Iran, 740 F.

Supp. 2d 51, 75, 79 (D.D.C. 2010) (quoting Peterson v. Islamic Republic of Iran, 515 F. Supp.

2d 25, 53 (D.D.C. 2007) ( “Peterson II ”)); accord Spencer v. Islamic Republic of Iran, 71 F.

Supp. 3d 23, 27 (D.D.C. 2014) (“Half-blood siblings are presumed to recover at the same level

as full-blood siblings would, unless the evidence indicates that such individuals did not have a

close relationship with the victim”) (citations omitted).

       “In applying this framework, however, courts must be wary that ‘[t]hese numbers . . . are

not set in stone.’” Fain v. Islamic Republic of Iran, 885 F. Supp. 2d 78, 82 (D.D.C. 2012)

(quoting Murphy, 740 F.Supp.2d at 79). Instead, these numbers generally serve only as a

baseline from which the Court may deviate in order to compensate for specific circumstances.

Braun, 228 F. Supp. 3d. at 85. Indeed, as the D.C. Circuit recently recognized, the Heiser




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framework is not a mandatory scheme and “[w]hile past solatium awards from comparable cases

are appropriate sources of guidance for district courts, ‘different plaintiffs (even under FSIA)

will prove different facts that may well (and should) result in different damage awards.’”

Fraenkel v. Islamic Republic of Iran, No. 17-7100, -- F.3d --, 2018 WL 2749233, at *10 (D.C.

Cir. June 8, 2018).     Thus, “District Court judges invariably must exercise discretion in

determining damages awards under the FSIA” based on the specific facts presented. Id.

       “[D]eviations may be warranted when, inter alia, ‘evidence establish[es] an especially

close relationship between the plaintiff and decedent, particularly in comparison to the normal

interactions to be expected given the familial relationship; medical proof of severe pain, grief or

suffering on behalf of the claimant [is presented]; and circumstances surrounding the terrorist

attack [rendered] the suffering particularly more acute or agonizing.’”). Fain, 885 F. Supp. 2d at

82-83 (quoting Oveissi, 768 F. Supp. 2d at 26-27). In conducting its analysis, the Court should

look to “[t]estimony which describes a general feeling of permanent loss or change caused by

decedent’s absence or [m]edical treatment for depression and related affective disorders.”

Flatow, 999 F. Supp. at 31. “Self-destructive behavior or a need for psychiatric treatment

starting after the incident may also indicate a particularly powerful feeling of loss.” Baker v.

Socialist People’s Libyan Arab Jamahiriya, 775 F. Supp.2d 48, 83 (D.D.C. 2011) (citing Valore,

700 F.Supp.2d at 86). “Courts have also recognized that in the long term, the sudden death of a

loved one may manifest itself as ‘a deep inner feeling of pain and anguish often borne in

silence.’” Flatow, 999 F. Supp. at 31 (quoting Connell v. Steel Haulers, Inc., 455 F.2d 688 (8th

Cir. 1972). Finally, courts have “correctly acknowledged that anguish is exacerbated when

family members must live with the knowledge that their loved ones suffered horribly for an




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extended period of time either at the hands of their tormentors or as a direct result of their

terrorist acts.” Stethem, 201 F. Supp. 2d at 90-91.

         Based on such aggravating circumstances, courts in this Circuit have often awarded

damages to immediate family members well in excess of the Heiser framework.12 As outlined

below, Plaintiffs submit that circumstances warrant solatium damages in this case that exceed the

Heiser framework as well.

         B.       Calculation of Solatium Damages for Immediate Family Members of
                  Karbala Victims

         As set forth in Appendices A through C, the immediate family members of the three

Karbala victims should receive a 25% upward adjustment from the Heiser baseline solatium

amounts to $6,250,000 for parents and $3,125,000 for siblings respectively to reflect the severe

emotional distress suffered as a result of the abduction, torture, and murder of their sons and

brothers. A solatium award may be supported by “[t]estimony which describes a general feeling

of permanent loss or change caused by decedent’s absence,” Murphy, 740 F. Supp. 2d at 79

(quoting Flatow, 999 F. Supp. at 31), or other “circumstances that appreciably worsen a

claimant’s pain and suffering, such as cases involving torture or kidnapping’ of the party to

whom extreme and outrageous conduct was directed.” Murphy, 740 F. Supp. 2d at 79 (quoting

12
   See Valore, 700 F. Supp. 2d at 86 (awarding an upward adjustment of 25% from Heiser baseline due to the
plaintiff’s “uniquely acute suffering”); Greenbaum v. Islamic Republic of Iran, 451 F. Supp. 2d 90, 108 (D.D.C.
2006) (solatium damages increased by $1 million from the Heiser baseline due to aggravating circumstances);
Flanagan v. Islamic Republic of Iran, 87 F. Supp. 3d 93, 118 (D.D.C. 2015) (awarding a 25% upward deviation
from the Heiser baseline for each member of the victim’s family where his “unexpected death was devastating,” and
the plaintiffs experienced “extraordinarily severe pain and suffering following [the victim’s] death”); Thuneibat v.
Syrian Arab Republic, 167 F. Supp. 3d 22, 52-53 (D.D.C. 2016) (awarding 25% increase from the Heiser baseline
amount to parents and siblings of victims because of their emotional devastation); Baker v. Socialist People's Libyan
Arab Jamahiriya, 775 F. Supp. 2d 48, 83 (D.D.C. 2011) (departing upward from Heiser baseline by 25% in light of
evidence that the brother of the victim was so traumatized that he “turned to self-destructive behavior to cope with
his pain”); Oveissi v. Islamic Republic of Iran, 768 F. Supp. 2d 16, 30 (D.D.C. 2011) (“cognizant of the several
factors that indicate that a damage award larger than the one established by the Heiser scale is appropriate, the Court
finds that the circumstances” surrounding the murder of plaintiff’s grandfather “warrant[ed] a 50% enhancement” in
the baseline solatium amount); Estate of Brown v. Islamic Republic of Iran, 872 F. Supp. 2d 37, 43 (D.D.C. 2012)
(awarding a solatium damages award of $3 million to the sister of the deceased victim where she “suffered a nervous
breakdown . . . for which she sought medical treatment and was prescribed medication for approximately one year”).


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Greenbaum v. Islamic Republic of Iran, 451 F. Supp. 2d 90, 108 (D.D.C. 2006)). All of the

immediate family member plaintiffs in this case had close relationships with the decedents and

their suffering was made more acute by their knowledge of the horrific and violent nature of their

loved one’s death.       The depth of the pain and extreme sorrow experienced by the family

members is evident on their faces in the videos from the decedents’ funerals and continues still

today.13

        Plaintiffs’ evidence in support of their claims for solatium damages are set forth in

Appendix A for the family of Jacob Fritz and incorporated herein by reference, Appendix B for

the family of Bryan Chism and incorporated herein by reference, Appendix C for the family of

Shawn Falter and incorporated herein by reference. Below is a chart comparing these requested

award amounts to other recent cases in this district awarding solatium damages to family

members of individuals who like the three Karbala victims died at the time of a terrorist attack or

relatively shortly thereafter without a prolonged period of captivity:

                      Solatium Awards in Other FSIA Terrorism Cases
                  Where Victim Was Killed During or Shortly After the Attack

                        Case                                   Parent                      Sibling

Elahi v. Islamic Republic of Iran, 124 F. Supp. n/a                             $5,000,000
2d 97, 111-112 (D.D.C. 2000) (victim
murdered by agents of Iran on street in Paris,
France)
In re: Terrorist Attacks on September 11, 2001, $8,500,000                      $4,245,000
2016 WL 6493158, at *5 (S.D.N.Y. Oct. 12,
2016) (adopted by Hoglan v. Islamic Republic
of Iran, Dkt. 178, No. 11-cv-07550 (S.D.N.Y.
Oct. 31, 2016) (victims killed during the
September 11, 2001 attack in New York)




13
 The funeral services for Jacob Fritz, Shawn Falter, and Ahmed Al-Taie are attached at Appendices A4, C4, and
D4, respectively.


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                         Solatium Awards in Other FSIA Terrorism Cases
                     Where Victim Was Killed During or Shortly After the Attack

                            Case                                    Parent                           Sibling

Oveissi v. Islamic Republic of Iran, 768 F.                   $7,500,00014            n/a
Supp. 2d 16, 25, 30 (D.D.C. 2011) (victim
assassinated in Paris)
Thuneibat v. Syrian Arab Republic, 167 F.                     $6,250,000              $3,125,000
Supp. 3d 22, 55 (D.D.C. 2016) (victim killed
during suicide bombing in Amman, Jordan)
Flanagan v. Islamic Republic of Iran, 87 F.                   $6,250,000              $3,125,000
Supp. 3d 93, 118 n.29 (D.D.C. 2015) (U.S.
service-member victim killed during bombing
of USS Cole in Yemen)
Wultz v. Islamic Republic of Iran, 864 F. Supp.               $6,000,000              $3,500,000
2d 24, 40-41 (D.D.C. 2012) (victim injured
during suicide bombing at Tel Aviv restaurant
and died less than a month later)
Proposed Solatium Damages for Fritz v.                        $6,250,000              $3,125,000
Islamic Republic of Iran - Immediate Family
of Jacob Fritz, Bryan Chism, and Shawn
Falter
Baker v. Socialist People’s Libyan Arab                       $5,000,000              $3,125,000
Jamahiriya, 775 F. Supp. 2d 48, 83-84 (D.D.C.
2011) (victim killed during execution-style
shooting during airplane hijacking).
Pugh v. Socialist People’s Libyan Arab                        $5,000,000              $8,000,000
Jamahiriya, 530 F. Supp. 2d 216, 266 (D.D.C.
2008) (victims killed in bombing of airliner)
Stethem v. Islamic Republic of Iran, 201 F.                   $5,000,000              $3,000,000
Supp. 2d 78, 91 (D.D.C. 2002) (U.S. service-
member victim beaten, shot, and murdered
during airplane hi-jacking)

           C.       Additional Solatium Damages to Immediate Family Members of Ahmed Al-
                    Taie

           Additionally, in the case of an individual who is held in captivity for an extended period

of time, it may be appropriate to increase the solatium award to recognize the exceptional

anguish and grief that the family member experienced during the period the direct victim was in



14
     Plaintiff was actually a grandson, but court treated him as a son under the Heiser framework.


                                                           19
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custody and tortured at the hands of their captors. See, e.g., Kim v. Democratic People’s

Republic of Korea, 87 F. Supp. 3d 286, 290 (D.D.C. 2015) (awarding son and brother of

kidnapping victim $15,000,000 each in solatium damages amounting to $1 million dollars for

each year victim had spent in captivity); Anderson v. Islamic Republic of Iran, 90 F.Supp.2d 107,

113 (D.D.C. 2000) (awarding $6,700,000 to the daughter of a torture victim held for

approximately six and a half years). As set forth in Appendix D, the immediate family members

of Ahmed Al-Taie are entitled to an upward adjustment from the baseline award of solatium

damages to $7 million for his parents and $5 million for his brothers to reflect the nearly five and

half years he was missing and their knowledge that he was likely being tortured. Plaintiffs’

evidence in support of their claims for solatium damages are set forth in Appendix D for the

family of Ahmed Al-Taie and incorporated herein by reference.

       Below is a chart comparing these proposed awards to other recent cases involving the

award of solatium damages to the immediate family members of individuals who spent an

extended period of time in captivity before being murdered.

                       Solatium Awards in FSIA Terrorism Cases
    Involving Victims Abducted for Extended Period of Time Before Being Murdered
Case                                  Parent               Sibling

Kim v. Democratic People’s Republic of $15,000,000                  $15,000,000
South Korea, 87 F. Supp. 3d 286, 290
(D.D.C. 2015) (awarding father and
brother of kidnapped victim
$15,000,000 in solatium damages or one
million for each year of captivity)
Foley v. Syrian Arab Republic, 281 F.  $7,000,000                   n/a
Supp. 3d 153 (D.D.C. 2017) (U.S.
service-member Matthew Maupin found
murdered four years after abduction)
Proposed Solatium Award for Fritz v. $7,000,000                     $5,000,000
Islamic Republic of Iran - Immediate
Family of Ahmed Al-Taie



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Kilburn v. Islamic Republic of Iran, 699            n/a                           $5,000,000
F. Supp. 2d 136, 158 (D.D.C. 2010)
(U.S. service-member victim held
captive for 503 days before being
murdered)

VI.      Plaintiffs’ Requests for Solatium Damages are Reasonable in Light of Increased
         Costs of Living

         As outlined above, the evidence in this case justifies solatium awards in excess of the

Heiser framework.          In addition to such aggravating circumstances, Plaintiffs’ requests for

solatium awards above the Heiser framework is also justified by cost of living increases since

that baseline was set in 2006. Accordingly, Plaintiffs’ solatium damages requests fall squarely

within the heartland and median range of prior awards of damages in other FSIA terrorism-

exception cases and are reasonable in light of increases in the costs of living since the time the

initial attacks occurred in this case.

         Courts across the United States have routinely adjusted awards based on standards set in

prior cases for the effects of inflation.15 In Dixon v. Agbai, the court analyzed “compensatory

damages awards in other comparable excessive force cases,” No. 15-cv-850, 2016 WL 3702749,

at *2-7 (S.D.N.Y. July 8, 2016), to determine “compensatory damages for… ‘conscious pain and

suffering, loss of enjoyment of life, and emotional damages’” suffered by the plaintiff. Id. at *4.

But to arrive at a proper measure of damages in its current day determination; the court

accounted and adjusted for the impact of inflation in its evaluation of prior comparable cases:

         The Court notes that it has considered all of the awards at their present dollar
         value adjusted for inflation using the calculator provided by the U.S. Bureau of
         Labor Statistics. See Consumer Price Index Inflation Calculator, U.S. DEP’T OF
         LABOR,             BUREAU             OF           LABOR             STATISTICS,
         http://www.bls.gov/data/inflation_calculator.htm (last visited June 13, 2016). The
         amounts listed, however, are those actually awarded in each case.


15
  The practice is so routine, and often mentioned only in passing or in a footnote, that one could surmise that the
inflationary adjustments are calculated without any official mention.


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Id. at *5, n.3; Falzon v. JPMorgan Chase & Co., 501 F. App’x 92, 94 (2d Cir. 2012) (adjusting

comparable damage awards for inflationary impact); Bravo v. United States, 532 F.3d 1154,

1163 n.5 (11th Cir. 2008) (“The resulting award was for $ 1.7 million in 1990 dollars ($850,000

for the death of each child). . . . Adjusted for inflation, that award would be approximately

$1,350,000 for each child in today’s dollars. So, if we were to use the Grayson case as our

touchstone, we certainly would vacate the $ 20 million non-economic damages award Bravo and

Rodriguez received in this case.”); Anthony v. Sec’y of HHS, No. 14-680, 2016 WL 7733084, at

*12 (Fed. Cl. Dec. 15, 2016) (utilizing a rate for national inflation to adjust the damage award

given in a prior but comparable decision); Alla v. Verkay, 979 F. Supp. 2d 349, 372, 372 n.9

(E.D.N.Y. 2013) (“In considering similar cases, the Court uses the Bureau of Labor Statistics’s

Inflation Calculator to estimate dollar equivalents.”); Cousin v. River W., L.P., No. 07-cv-576,

2013 WL 2248121, at *5 n.10 (M.D. La. May 21, 2013) (analyzing past awards to determine

damages but noting “the award of $100,000 must be adjusted for inflation”); Ocampo v. Paper

Converting Mach. Co., No. 02 C 4054, 2005 WL 2007144, at *4, 4 n.10 (N.D. Ill. Aug. 12, 2005)

(“When adjusted for inflation, that is the equivalent of a verdict in excess of $ 3.2 million in

2005.”); Ruhlmann v. Smith, 323 F. Supp. 2d 356, 364 (N.D.N.Y. 2004) (“Adjusting only for

inflation results in the following present-day values of the verdicts in the above cases . . . .”). It

is also clear from the foregoing decisions that the Bureau of Labor Statistics’ Inflation Calculator

is considered a reliable tool.

        Courts have also adjusted comparable damage awards for inflationary impact in other

procedural postures. In Menghi v. Hart, the court made the same adjustment for inflation when

analyzing the value of a comparable damage award in its analysis of the appropriateness of the

damages awarded by the jury:




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       The case that presents the greatest similarities in the type of emotional distress
       alleged is Sulkowska v. City of New York, 129 F. Supp. 2d 274 (S.D.N.Y. 2001).
       In Sulkowska, plaintiff claimed that she was falsely arrested and imprisoned. As
       to her emotional damages, plaintiff testified to constant fear that someone is
       trying to kill her and “never goes to bed without checking all the doors and
       looking in corners, under the bed, and in the closet.” Id. at 306. Her psychologist
       testified that she suffered from PTSD and that she was fearful of police, had
       feelings of helplessness, and difficulty sleeping. Id. at 305. In addition, the
       award was appropriate even though the plaintiff had outside sources of stress,
       such as depression related to the death of her husband and her own surgery for a
       brain tumor, and there was no evidence that she could no longer work. Id. at 304.
       The Court concluded that plaintiff was severely, if not permanently, injured, and
       awarded her $275,000. Id. at 308-09. That 2001 award, adjusted for inflation,
       would be valued at approximately $334,000 at the time of the verdict in this case.
       See CPI Inflation Calculator, U.S. Bureau of Labor Statistics,
       http://www.bls.gov/data/inflation_calculator.htm.

745 F. Supp. 2d 89, 109 (E.D.N.Y. 2010) (emphasis added); see also Jean-Baptiste v. District of

Columbia, 931 F. Supp. 2d 1, 17 (D.D.C. 2013) (in the course of a remittitur analysis, finding

that “[e]ven adjusting for inflation, this is far below the $3.5 million awarded here.”); Wells v.

City of Chi., 896 F. Supp. 2d 725, 742, 742 n.1 (N.D. Ill. 2012) (deciding whether a jury award

was excessive by considering an inflation adjusted prior remittitur of “$25,000 compensatory

damages ($37,644 in 2012 dollars)”); Wade v. Colaner, No. 06-cv-3715, 2010 WL 5479629, at

*29 (D.N.J. Dec. 28, 2010) (“As Plaintiff points out, the $375,000 compensatory damage award

in Evans, when adjusted for inflation, is approximately equal to $462,000 in current dollars.”).

       The Second Circuit expressed the logic of adjustment for inflation in DiSorbo v. Hoy:

“[i]n addition, when considering the sizes of the awards in earlier cases, we must take into

account inflation, as the reasonable range for Rebecca DiSorbo’s injuries today is higher than

what it would have been ten years ago.” 343 F.3d 172, 185 (2d Cir. 2003).

       Even without the aggravating circumstances highlighted in this Memorandum and the

accompanying Appendices, Plaintiffs’ requested solatium damages awards are almost identical

to the 2006 framework set forth in Heiser v. Islamic Republic of Iran when adjusted for inflation.



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For example, applying the U.S. Department’s Bureau of Labor Statistics Consumer Price Index

Calculator16 to the standard Heiser framework solatium awards yields the following results:

                             Heiser Framework Adjusted for Inflation



Relationship           of 2006 Value             Current     Value (using Plaintiffs’
Plaintiff                                        Bureau of Labor CPI Damages Request
                                                 Calculator)17

Parent                      $5,000,000           $6,233,588                           $6,250,000

Sibling                     $2,500,000           $3,116,799                           $3,125,000


          Plaintiffs submit this further supports their request for solatium awards slightly above the

Heiser framework.

VII.      Plaintiffs are Entitled to Prejudgment Interest

          When as here a statute is silent on the issue of pre-judgment interest, see 28 U.S.C. §

1605A(c), there is a federal common law rule that a court should ordinarily award it. Motion

Picture Ass’n v. Oman, 969 F.2d 1154, 1157 (D.C. Cir. 1992) (citing Rodgers v. United States,

332 U.S. 371, 373, (1947)). The discretion to make such an award rests in the hands of the

district court subject to equitable considerations. Oldham v. Korean Air Lines Co., 127 F.3d 43,

54 (D.C. Cir. 1997) (citing Motion Picture Ass’n, 969 F.2d at 1157). Prejudgment interest is

awarded not for the punitive value but to fully compensate the victims and to deny the

defendant the time value of the money which rightly belonged to a plaintiff from the date of

the act of wrongdoing. Such interest compensates a plaintiff for the lost time value of the

money.


16
 The Bureau of Labor CPI calculation is available at https://www.bls.gov/data/inflation_calculator.htm.
17
 The comparison is between December 2006 when the Heiser decision was issued and May 2018 (the most recent
month for which data is available).


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       Courts in this district have regularly awarded prejudgment interest on compensatory

damages in other similar cases brought against state sponsors of terrorism. See, e.g., Owens v.

Republic of Sudan, 71 F. Supp. 3d 252, 262 (D.D.C. 2014) (awarding prejudgment interest at the

prime rate for each year); Estate of Doe v. Islamic Republic of Iran, 943 F. Supp. 2d 180, 184

(D.D.C. 2013) (same); Reed v. Islamic Republic of Iran, 845 F. Supp. 2d 204, 214-215 (D.D.C.

2012); Belkin, 667 F. Supp. 2d at 24; Ben-Rafael v. Islamic Republic of Iran, 540 F. Supp. 2d 39,

59 (D.D.C. 2008); Pugh v. Socialist People’s Libyan Arab Jamahiriya, 530 F. Supp. 2d 216, 263

(D.D.C. 2008) (“courts in this Circuit have awarded prejudgment interest in cases where

plaintiffs were delayed in recovering compensation for their injuries -- including, specifically,

where such injuries were the result of targeted attacks perpetrated by foreign defendants”);

Dammarell v. Islamic Republic of Iran, No. 01-cv-2224, 2006 WL 2583043, at *1, n.2 (D.D.C.

Sept. 7, 2006) (awarding prejudgment interest to families of U.S. citizens killed in 1983 bombing

of the United States Embassy in Beirut). To deny prejudgment interest would allow the state

sponsor of terrorism to profit from its terrorist acts. Pugh v. Socialist People’s Libyan Arab

Jamahiriya, 530 F. Supp. 2d 216, 264 (D.D.C. 2008).

       Moreover, every count of the Amended Complaint upon which Plaintiffs demonstrated

Defendants’ liability in this case, explicitly requests “pre-judgment interest” satisfying the

requirements of Federal Rule of Civil Procedure 54(c). Dkt. 9 at 21-31. Thus, this case is

distinguishable from other recent cases where Court have denied plaintiffs’ request for

prejudgment interest based on their failure to comply with the requirements of the rule. See Gill

v. Islamic Republic of Iran, 249 F. Supp. 3d 88, 102 n.7 (D.D.C. 2017) (refusing to grant plaintiff

prejudgment interest in FSIA case where it was not requested in the complaint); Cohen v. Islamic

Republic of Iran, 268 F. Supp. 3d 19, 27 n.2 (D.D.C. 2017).




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       The award of prejudgment interest is also ubiquitous outside the FSIA context. When

pursuing relief on its own behalf, the United States seeks prejudgment interest to make itself

whole. West Virginia v. U.S., 479 U.S. 305, 306 (1987) (agreeing with the governments’

assertion that “[P]rejudgment interest is an element of complete compensation to the Federal

Government.”); see also Insurance Co. of North America v. U.S., 951 F.2d 1244, 1246 (Fed. Cir.

1991) (“[T]he Government seeks no more than the value of the bond on its due date. The

assessment of prejudgment interest does not penalize the surety beyond the bond limit, but

merely compensates the creditor for the surety’s use of the money already due.”). The federal

judiciary traditionally grants prejudgment interest to the United States, and other parties.

Osterneck v. Ernst & Whinney, 489 U.S. 169, 175-76 (1989) (“[P]rejudgment interest

traditionally has been considered part of the compensation due plaintiff”).

       Given the Supreme Court’s unambiguous stance on the matter, West Virginia v. U.S., 497

U.S. at 306 (1987); Osterneck v. Ernst & Whinney, 489 U.S. at 175-76, there is broad consensus

among the circuits that prejudgment interest is an integral component of compensatory damages.

See e.g., Woodling v. Garret Corp., 813 F.2d 543, 559-60 (2d Cir. 1987) (“[t]he purpose of the

[wrongful death] statute is to compensate for pecuniary injuries suffered by the distributees of

decedent’s estate.   The prejudgment interest provision implements this goal by ensuring that the

distributes are compensated for the time value of the income stream the decedent would have

earned between death and the entry of judgment. . . .”) (alteration in original) (citations and

internal quotations omitted) (quoting Lin v. McDonnell Douglas Corp., 742 F.2d 45, 51–52 (2d

Cir. 1984)).   “[I]nterest compensates for the time value of money, and thus is often necessary

for full compensation.” Oldham v. Korean Air Lines Co., Ltd., 127 F.3d 43, 54 (D.C. Cir. 1997)




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(quoting Motion Picture Ass’n of Amer., Inc. v. Oman, 969 F.2d 1154, 1157 (D.C. Cir. 1992))

(granting prejudgment interest in a wrongful death suit).

         “The D.C. Circuit has explained that the prime rate—the rate banks charge for short-

term, unsecured loans to creditworthy customers—is the most appropriate measure of

prejudgment interest.” Owens, 71 F. Supp. 3d at 262 (citing Forman v. Korean Air Lines Co.,

84 F.3d 446, 450-451 (D.C. Cir. 1996). Accordingly, “this Circuit has approved an award of

prejudgment interest ‘at the prime rate for each year between the accident and the entry of

judgment.’” Id. (quoting Forman, 84 F.3d at 450). In a recent 1605A decision later affirmed

by the D.C. Circuit, the district court in Owens applied this standard using a multiplier derived

from the Federal Reserve’s historical prime rate data to adjust the base compensatory damages

award. See Owens, 71 F. Supp. 3d at 262 & n.7 (citing Bd. of Governors of the Fed. Reserve

Sys. Historical Data, available at http:// www.federalreserve.gov/releases/h15/data.htm).

Plaintiffs followed the precise method for calculating the interest rate multiplier described in

detail in the Owens court’s decision. Id. Utilizing this same methodology and the same data set

for the relevant period, the proposed total awards for each Plaintiff including prejudgment

interest are set forth in the chart below:

            Proposed Awards for Each Plaintiff Adjusted for Prejudgment Interest

            Plaintiff                         Proposed Base                       Award with Prejudgment
                                          Compensatory Damages                          Interest18
                                                  Award
Estate of Jacob Fritz                   $7,594,660                              $12,227,402.60



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   The interest rates utilized account for the period between the original attack and the date of judgment. Thus, for
the Al-Taie family the multiplier is based on the prime rates from Mr. Al-Taie’s abduction in 2006 through 2018
while the multiplier for the remaining families relies on the prime rate for 2007 (the date of the Karbala attack)
through 2018. All multipliers were generated using the Federal Reserve historical data for prime rates available at
http:// www.federalreserve.gov/releases/h15/data.htm. The underlying calculations are set forth in an Excel
spreadsheet on the enclosed USB drive.



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          Proposed Awards for Each Plaintiff Adjusted for Prejudgment Interest

           Plaintiff                Proposed Base            Award with Prejudgment
                                Compensatory Damages               Interest18
                                        Award
Daniel Fritz                  $3,125,000                    $5,031,250

Ethan Fritz                   $3,125,000                    $5,031,250

Estate of Lyle Fritz          $6,250,000                    $10,062,500

Noala Fritz                   $6,250,000                    $10,062,500

Fritz Family Total            $26,344,660                   $42,414,902.60

Estate of Bryan Chism         $6,059,404                    $9,755,640.44

Danny Chism                   $6,250,000                    $10,062,500

Elizabeth Chism               $6,250,000                    $10,062,500

Julie Chism                   $3,125,000                    $5,031,250

Vanessa Chism                 $1,500,000                    $2,415,000

Chism Family Total            $23,184,404                   $37,326,890.44

Estate of Shawn Falter        $5,951,882                    $9,582,530.02

Linda Falter                  $6,250,000                    $10,062,500

Marjorie Falter               $3,125,000                    $5,031,250

Russell C. Falter             $3,125,000                    $5,031,250

Russell J. Falter             $6,250,000                    $10,062,500

Andrew Lucas                  $3,125,000                    $5,031,250

David Lucas                   $3,125,000                    $5,031,250

Timothy Lucas                 $3,125,000                    $5,031,250

Marsha Novak                  $3,125,000                    $5,031,250




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            Proposed Awards for Each Plaintiff Adjusted for Prejudgment Interest

            Plaintiff                 Proposed Base               Award with Prejudgment
                                  Compensatory Damages                  Interest18
                                          Award
Jason Sackett                   $3,125,000                      $5,031,250

John Sackett                    $3,125,000                      $5,031,250

Falter Family Total             $43,451,882                     $69,957,530.02

Estate of Ahmed Al-Taie         $12,263,717                     $21,338,867.58

Bashar Al-Taie                  $5,000,000                      $8,700,000

Kousay Al-Taie                  $7,000,000                      $12,180,000

Nawal Al-Taie                   $7,000,000                      $12,180,000

Hathal K. Taie                  $5,000,000                      $8,700,000

Al-Taie Family Total            $36,263,717                     $63,098,867.58


VIII. Plaintiffs are Entitled to Exemplary Damages

       A.        Overview

       Title 28, United States Code, Section 1605A(c) permits the award of punitive or

exemplary damages against a state sponsor of terrorism. Accordingly, Plaintiffs request an

award of punitive or exemplary damages to each family in an amount equal to twice the amount

of compensatory damages to be apportioned equally amongst each set of plaintiffs:




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                    Proposed Exemplary or Punitive Damages Per Family

            Family                Total Compensatory Damages        Proposed Punitive Damages
        Al-Taie Family                    $36,263,717                      $72,527,434
        Chism Family                      $23,184,404                      $46,368,808
         Falter Family                    $43,451,882                      $86,903,764
         Fritz Family                     $26,344,660                      $52,689,320

       Punitive damages “serve to punish and deter the actions” for which they are awarded.

Valore v. Islamic Republic of Iran, 700 F. Supp. 2d 52, 87 (D.D.C. 2010) (citations omitted). “In

determining the proper punitive damages award, courts evaluate four factors: ‘(1) the character

of the defendants’ act, (2) the nature and extent of harm to the plaintiffs that the defendants

caused or intended to cause, (3) the need for deterrence, and (4) the wealth of the defendants.’”

Id. (quoting Acosta v. Islamic Republic of Iran, 574 F. Supp. 2d 15, 30 (D.D.C. 2008))

(additional citations omitted).

       All of the four factors above support a substantial award of punitive damages in this case.

As detailed during the trial in this matter and described in the accompanying Appendices A

through D, the hostage-takings, torture, and extrajudicial killings of Jacob Fritz, Bryan Chism,

Shawn Falter, and Ahmed Al-Taie were horrific, egregious, and designed to have maximum

public impact by instilling fear in those who dared to stand in the way of the policy aims of Iran

and the IRGC. See Bodoff v. Islamic Republic of Iran, 424 F. Supp. 2d 74, 88–89 (D.D.C. 2006)

(noting that “[t]he defendants’ demonstrated policy of encouraging, supporting and directing a

campaign of deadly terrorism is evidence of the monstrous character of the bombing that

inflicted maximum pain and suffering on innocent.”) (citation and quotation marks omitted). All

four men were killed in an extraordinarily painful manner and their families were devastated by

the conduct. As courts of this district have held repeatedly, “only a large amount of punitive

damages can serve as an effective deterrent against future terrorist acts.” Bodoff, 424 F. Supp. 2d




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at 88 (quoting Campuzano v. Islamic Republic of Iran, 281 F. Supp. 2d 258, 278 (D.D.C. 2003))

(quotation marks omitted). Finally, “Iran is a sovereign and has substantial wealth.” Bluth v.

Islamic Republic of Iran, 203 F. Supp. 3d 1, 25 (D.D.C. 2016) (citing Weinstein v. Islamic

Republic of Iran, 184 F. Supp. 2d 13, 25 (D.D.C. 2002) (additional citations omitted). Thus, the

question is the appropriate amount of damages.

        Courts in this district have applied different methodologies to calculate the appropriate

amount of punitive damages ranging from a flat monetary award,19 to applying a multiplier to the

state sponsor’s expenditures on terrorism over a relevant time period. See, e.g., Valore, 700 F.

Supp. 2d at 88–90; Heiser, 659 F. Supp. 2d at 30–31; Acosta, 574 F. Supp. 2d at 31. More

recently, courts have applied a similar multiplier to the amount of compensatory damages

awarded. See, e.g., Gill v. Islamic Republic of Iran, 249 F. Supp. 3d 88, 105-106 (D.D.C. 2017)

(calculating punitive damages by multiplying compensatory damages by three); Harrison v.

Republic of Sudan, 882 F. Supp. 2d 23, 50-51 (D.D.C. 2012) (using a factor of three); Cohen v.

Islamic Republic of Iran, 268 F. Supp. 3d 19, 27-28 (D.D.C. 2017) (awarding punitive damages

in the amount of twice compensatory damages).                  Thus, Plaintiffs submit that under the

circumstances of this case, the Court should award punitive damages against the Defendants at

least in the amount of twice compensatory damages. Both the attacks on the three Karbala

victims and Ahmed Al-Taie were politically motivated attacks designed to instill maximum fear

and terror in opponents of Iran and the IRGC. The nature of the attacks was brutal, and the

suffering imposed on the victims and their families substantial.                  And the victims were

specifically targeted because of their service to the United States.




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  Gates v. Syrian Arab Republic, 580 F. Supp. 2d 53, 75 (D.D.C. 2008) (awarding the families of victims a flat
amount of $150 million., aff'd, 646 F.3d 1 (D.C. Cir. 2011)


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       B.      Impact of Recent Owens Decision

       Plaintiffs acknowledge the D.C. Circuit’s recent decision regarding punitive damages

under 1605A in Owens v. Republic of Sudan, 864 F.3d 751, 818 (D.C. Cir. 2017), which

Plaintiffs submit is wholly inconsistent with the Supreme Court’s prior decision in Republic of

Austria v. Altmann, 541 U.S. 677 (2004), and which is currently the subject of a pending petition

for a writ of certiorari. As an initial matter, the Owens decision has no impact on the availability

of punitive damages to the Al-Taie family since Ahmed Al-Taie was murdered in late 2009—

long after the enactment and effective date of Section 1605A. Thus, the Special Master should

recommend and the Court should award punitive damages to Mr. Al-Taie’s estate and his

immediate family members in the amounts requested.

       With respect to the estates and families of Jacob Fritz, Bryan Chism, and Shawn Falter

who were murdered in 2007 prior to the enactment of 1605A, Plaintiffs request that the Special

Master instead make a recommendation with respect to the appropriate calculation of punitive

damages which the Court can evaluate and consider once the Owens decision is reversed. In

Republic of Austria v. Altmann, the Supreme Court held unequivocally that the FSIA explicitly

applies to preenactment conduct by foreign states, explaining: “we find clear evidence that

Congress intended the Act to apply to preenactment conduct.” 541 U.S. 677, 697 (2004). The

D.C. Circuit’s decision in Owens erroneously ignored the Supreme Court’s binding precedent in

Altmann and the fact that through Section 1605A(c), Congress expressly authorized “punitive

damages” without temporal limitation. Indeed, the enacting legislation (codified as a note to §

1605A) provides that “[t]he amendments made by this section shall apply to any claim arising

under section 1605A of title 28, United States Code.” Note to Section 1605A, 2008 National

Defense Authorization Act, Pub. L. No. 110–181, § 1083(c), 122 Stat. 3, 342–43 (“2008

NDAA”) (emphasis added).        Indeed, the 2008 NDAA explicitly repealed and replaced the


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preexisting jurisdictional immunity provision allowing similar actions against state-sponsors of

terrorism and replaced it with the new Section 1605A. 2008 NDAA § 1083(b)(1)(A)(iii). As

perhaps the best evidence of Congress’ intent that the new provision apply retroactively, it

explicitly allowed plaintiffs with pending terrorism actions pursuant to 28 U.S.C. § 1605(a)(7) to

refile them under Section 1605A. 2008 NDAA § 1083(c)(2).20

        In sum, pursuant to the Supreme Court’s decision in Altmann, all provisions of Section

1605A including those relating to punitive damages should be applied retroactively to any timely

filed action. The Owens decision was in error and the Special Master should recommend a

punitive damages award with respect to the three Karbala victims pending the Supreme Court’s

review of that decision.

IX.     Conclusion

        Based on the facts and law set forth above, Plaintiffs respectfully request that the Special

Master find and recommend to the Court that the Court award each of the family member

Plaintiffs (excluding Bashar Al-Taie) damages for their solatium losses under 28 U.S.C. §

1605A(c); award Bashar Al-Taie damages for his emotional distress under the law of the District

of Columbia; award to the Estates of Jacob Fritz, Johnathan Bryan Chism, Shawn Falter, and

Ahmed Al-Taie damages for their economic losses and pain and suffering under 28 U.S.C. §

1605A(c); and award appropriate prejudgment interest thereon; and make an award to each of the

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   Indeed, at the time of Section 1605A’s enactment in 2008, the concept of awarding punitive damages arising from
state sponsored terrorism was not a new one. The 1996 Flatow Amendment authorized the award of punitive
damages against “an official, employee, or agent of a foreign state designated as a state sponsor of terrorism . . .
acting within the scope of his or her office, employment, or agency.” Pub. L. No. 104–208, § 589, 110 Stat. 3009–
172 (1996) (formerly codified at 28 U.S.C. § 1605 note (repealed 2008)). Although the Flatow Amendment was
repealed in 2008 with the enactment of Section 1605A, to the extent that the punitive damages provision of 1605A
does not apply retroactively, the IRGC as “an agent” of Iran could be held liable for punitive damages for the
January 2007 Karbala attack under the then operative 28 U.S.C. § 1605(a)(7). See, e.g., Kilburn v. Republic of Iran,
277 F. Supp. 2d 24, 44 (D.D.C. 2003) (awarding punitive damages against Libyan intelligence agency despite
conclusion it arguably was part of the state itself under D.C. Circuit law), abrogated on other grounds by Cicippio-
Puleo v. Islamic Republic of Iran, 353 F. 3d 1024 (D.C. Cir. 2004); Stethem v. Islamic Republic of Iran, 201 F.
Supp. 2d 78, 92 (D.D.C. 2002) (awarding punitive damages against the Iranian Ministry of Information and Security
even though punitive damages were not available against Iran itself).


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Plaintiffs, in such amount as the Court deems appropriate and just, an assessment of punitive

damages against the Defendants under 28 U.S.C. § 1605A(c). The specific damages requests as

to each individual plaintiff are set forth in Appendices A through D.


DATED: July 23, 2018                                        Respectfully Submitted,

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